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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
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12      AEG PRESENTS LLC, a Delaware             Case No. 2:20-cv-11601-MRA (PVCx)
        limited liability company,
13                                               ORDER ON JOINT STIPULATION
                     Plaintiff,                  OF DISMISSAL WITHOUT
14                                               PREJUDICE [Fed. R. Civ. P.
             vs.                                 41(a)(1)(A)(ii) and 41(a)(2)]
15
        YSL TOURING LLC, a Georgia               Status Conf.:         February 3, 2025
16      limited liability company; JEFFERY
        LAMAR WILLIAMS, an individual;           Final Pretrial Conf.: August 25, 2025
17      and YOUNG STONER LIFE
        PUBLISHING, LLC, a Georgia               Trial Date:           September 8, 2025
18      limited liability company,
19                   Defendants.
20
21                                           ORDER
22         Pursuant to the Joint Stipulation of Dismissal Without Prejudice [Fed. R. Civ.
23 P. 41(a)(1)(A)(ii) submitted by plaintiff AEG Presents LLC, on the one hand, and
24 defendants YSL Touring LLC, Jeffery Lamar Williams, and Young Stoner Life
25 Publishing, LLC, on the other hand, it is hereby ORDERED as follows:
26                 (1)   Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and 41(a)(2), all
27         claims asserted by the parties in this action shall be dismissed, without
28         prejudice.

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1                (2)    As a condition to such dismissal, the Court shall retain
2          jurisdiction for one (1) year from the date of this Order for the purpose of
3          enforcing the parties’ settlement.
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5          IT IS SO ORDERED.
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7 Dated: February 18, 2025
8                                           Hon. Mónica Ramírez Almadani
                                            United States District Judge
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